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    TKR Live: State of the Union Special
    Azzmador

    Daily Stormer
    February 6, 2020




    On yet another SPECIAL EDITION TKR live, Azzmador and Tony Castle give you the legendary, award-
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         00:00                                            00:00




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    Topics discussed:

    • Azzmador’s thoughts on Rush Limbaugh in the wake of his cancer diagnosis

    • Apollonian as a son of a bitch!

    • Trump has press luncheon, excludes CNN

    • So what’s really up with this impeachment, anyway?

    • Legendary Limbaugh bit, “Barack the Magic Negro”

    • Lampooning of the cringe parts

    • Azz sings Johnny Rebel at Tuskegee Airman

    • Azzmador’s novel plan to convert Kristen Sinema to the right wing




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    • Donkey Bitch nowhere to be found, rumored to be banging donkey in Tijuana

    • Trump promises to give Azzmador fast internet

    • Who is this weird skank doing the Democrat response?

    • Q&A with the chat


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